Case 2:13-cv-01959-I\/|CE-AC Document 1-1 Filed 09/20/13 Page 1 of 11

EXHIBIT A

SUMMONS, COMPLAINT FOR DAMAGES and NOTICE
OF CASE MANAGEMENT CONFERENCE AND ORDER
TO APPEAR to TRANS UNION, LLC

Case 2:13-cv-01959-l\/|CE-AC Document 1-1 Filed 09/20/13 Page 2 of 11

 

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. , `_ [SOLD PARA L|SD DELA CORTE] .
NOTICE TO DEFENDAN'!'§ BANK OF Al_\dER.ICA, NATIONAL
(A vrso Ar_ oEMANvoo); ASSOCIATIGN; FIA calm seRVrcES,
NATIONAL ASSOCIATION; EQU]FAX ]NFORMATION SERV'[CES, LLC;
'I`RANS UNXON, LLC; and DOES 1 through 20

You ARE BEtNG squ BY PLAtN“`rlFF: PATR;[CLA MrLLS
(r.O ESTA DEMANDANDO Er, DEMANDANTE).-

 

 

' NOTtCEt You have been sued. The court may decide agalast you without your being heard unless you respond withln 30 days. Road the information
below.

¥ou have 30 CAE.ENDAR DAYS al’certhls summons and legal papers are served on you to tile a wrltten response al th|s court and have a copy
served on the plalnt]lt. A latter or phone call wtll not protect you. Ycurwrltten response must ne ln proper legal form tt you want the court to hear your
case. There may be a court tenn that you can use for your response Yorr can lind these court forms and more lnlonnation at the Calltomla Courts
Orrtine Self-He|%Cenler {www.courttnto.ca.gov/selttreto}, your county law lll:rary, orthe courthouse nearest you. ll you cannot pay the llllng tee. ask
the court clerk r a fee walver form. lt you do not file your response on time, you may lose the else by default. and yourwages, money, and property
may be taken w|thoul furtherwamlng from the court. .

There are other legal renutren'rentsl You may want lo callan altomey right away. lf you do not know an attomey. you may want to callan attorney
referral servtce. |t` you cannot afford an attomey, you may be eligible tortree legal servloes from a nonprolit legal services pragram. You can locate
these nonprolit groups at the Califomta Legat Servloes Web site (Mvw.lewhelpcelilomta.org), the Catitomia Courts Onlirre Self~Help Center
(mvw.cor.tn'.lnfe. cagov/seltttelp), or by contacting your local court or county bar assoctat|on. NOTE'. The court has a statutory |lan for waived fees and
costa on any settiement or arbltrat§on award ot 310.000 or more in a civil case. The court's lien must be paid before the court witt dlrrrnlss the case.
rAVlSOl Lo hon dernandado. Sl no responde dentro¢de 30 dlas, le cone puerto dacr'dlr err au contra slr'r escrrcher au versldn. Lee ta lrrtonnactdn a
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The name, address, and telephone number of plaintiffs attemey, ar ptalntll‘t without an atlorney. is:
kit nombro. la dtrecctrin y et ndmero de tetétono dol abogado dot demandente, o del demandante que no tr'ene allege do, es};

ark E. Ellr's; Brandon L. Reeves (915)233_8320 (9] 6)233_8321
Eltis Law Group, LLP .

740 Univcrsi Ave., Ste. 100

 

 

 

 

 

 

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(Fectte) (Sor:re!an'o) {Aq'[urrto)

 

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NOT|CE TC| THE PERSON SERVED: ‘{ou are served

lsE-*Ll 't. [:] as an lndlvldual defendant

2. l:l as the person sued under the fictitious name of (speclrjr):

3. [:I on behalf of (speelty):

 

under: 1:] CCP 416.10 (corporatlon) :| CCP 416.6¢) (minor)
1:] CCP 416.20 {delunct corporation) {::] CCP 416.70 (censenratoe)
`t_':} ccP 416.40 recantation or pannarahrp) l:] ccP 416.90 taurhanzad person
1:} other (apectly):

 

 

 

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Mark E. Ellis ~ 127159
Bralldon L. Reeves » 242897

ELLIS LAW GROUP, LLP HLED
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PATRICIA M[LLS, ~ Case No.:
Plainrir~f, cGMPLAlNT Foa`DAMAGEs
V.
BANK on AMERICA, NATIONAL

ASSOCIATION; FIA CARD SERVICES,
NATIONAL ASSOCIATION; EQUIFAX
H\lFORMATION SERVICES, LI..C; TRANS
UNION, LI..C; and DOES 1 through 20,

Defendants.

 

 

COMES NOW Plal'ntifl`, who alleges:

l. Plaintift` PATRICIA MILLS is and at all relevant times was all individual residing in the
County of Saeramenio, Siate of Califomi§. _

2. Plaintifl` ls informed and believes and tllereon alleges illat l)ei`endant BANK OF
AMERICA, NA'I`IONAL ASSOCIATION is, and at all relevant times was, a national banking
association qualified to de business in Califomia.

3. Plainti:li` is infomled and believes and thereon alleges that Defendant FlA CARD
SERVICES, NATIONAL ASSOCIATION is, and ai all relevant times was, a national banking
association qualified to do business in California.

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coMPLAINT Foa DAMAGES § g

 

 

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4. messrs re refeeeed end believes led rhe`reen alleges ran nefen.deer sQUrsAX
INFORMATION SERVICES, LLC is, and at all relevant times was, a limited liability company
qualified to do business in California.

5. Plai.ntift` is informed and believes and thereon alleges that Dei`endant TRANS UNION,
LLC is, and at all relevant times Was, a limited liability company qualified to do business in California.

6. The true names and capacities, whether individual, corporate, associate or otherwise, of
Defendauts DOES 1 through 20, inclusive, are unknown to Plaintift“, who therefore sues said
Dei`endants by such fictitious names. Plaintiil` is informed and believes and thereon alleges that each
of the Defendants designated herein as a'i'rct'iticusiy named Defendant is in some manner responsible
for the events, debts, and happenings herein referred to, either contractually or tortiously, and caused
the damage to Piaintili` as herein alleged. When Plaintiii` ascertains the true names and capacities of
DOES 1 through 20, inclusive, it will ask leave of this Court to amend this Conlplaint by setting forth
the true names of said Deferldants. '

7.. Piaintift` is informed and believes and thereon alleges that at all times herein -mentioned,
Defendants, and each of them, was, and is, the agent, partner, joint venulrer, alter ego, servant or
employee of each of the other Dcfendants, and all of the things alleged to have been done by said
Defendants were done in the capacity and within the scope of such agency, parhlership, joint venture,
or employment

B. Venue is proper in this Court pursuant to Code of Civil Procedure § 395_. The amount
demanded herein exceeds $25,000.

" 9. re er about Aegeer 2011, Pleierin learned ther Dereeaeere seek er Amenee end FIA

Card Services were falsely reporting to consumer credit reporting agencies that Plaintii’f was
responsible for and in default on consumer credit card account number }U{)(X-}DG{)(~}G{XX-I 083
n which account is apparently issued by FIA Card Services and held solely in the name of Plaintiff's
parents. Plaintiif thereafter contacted Dei`endants about their inaccurate reporting of information to
consumer credit reporting agencies regarding the account, _but Defendants continued to report such
infomlation, and continue to report such false information to the credit reporting agencies to this day.

Defendants knew cr should have known the information they reported about Plaintift` with respect to

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COMPLA]'NT `FOR DAMAGES

 

 

 

 

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account number X)OG{~)GD{X-)DGQ{-H}SS is inaccurate because, among other reasons, Piaintiff
never obligated herself to be responsible for said credit card account, tile charges on said account were
not incurred by Plaintiii`, and the account is held only in the name of Piaintiii"a parents Plaintiti' never

authorized said Dcfendants to report that the account belonged to her, or that she was responsible for '

 

 

 

paying the account Defendants also wrote a letter to Piaintift` on October 11, 201'1 and promised that
Plaintift"s association with the account would be tcrnlinated, but Defendants never followed through
on that promise and never corrected their inaccurate reporting ofthe account as owed by Piaintift`.

10. In January 2012, Plaintiff formally disputed the Bank of Amcrical'FIA Card Services
credit card account number m~m~m-IOSS appealing on her credit reports by sending a
| written notice of dispute directly to Defendants Eqnifax lnformation Services, LLC and 'l`rans Union,
i LLC. Plaintifl" notined Defendants the account was disputed as it did not belong to her, and requested,
ll among other tllings, permanent deletion of the disputed account nom her credit reports. Plaintii’t` is

informed and believes and thereon alleges that said Defendants thereafter failed to (I) perform a

 

 

reasonable reinvestigation to determine whether the disputed information is accurate, and (2) properly
report the results of any reinvestigation to Pieintift` as P]aintiff never received any report from
Defcndarl'ts regarding any action they took to reinvestigatc the accuracy of the information appearing
ll on Piaintili`s credit report regarding the account and the account continues to appear on Plaintift’s
credit report as delinquent and as being owed by Plaintiti". v
FlRST CAUSE OF ACTION
Violation of Ctvil Codc § 1785.25(a)
(As to Defendants Bank of Anrerica, N.A., FIA Card Services, N.A., and Does 1-20)

 

 

11. Plaintiff re-alleges and incorporates by reference all allegations in Paragraphs lelt}
above as if set forth fully herein.

12. Defcndants Bank of Arnerica, FIA Card Services, and Does 1-20 violated Civil Codc §
l785.25(a) by furnishing information to consumer credit reporting agencies regarding Plailltifi` and
account number )QDCX~XXXX-)D{XX-lOSB that it knew or should have known is incomplete or

 

inaccurate because, among other reasons, PlaintiH" was never obligated nor did she ever obligate

 

herself to be responsible for said credit card account, the charges on said accormt were not incurred by

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COMPLAINT FOR DAMAGES

 

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Plaintiff, and the account is held only in the name of PllaintiH"s parents Plaintiff never authorized said
i Defendants to report that the account belonged to her, or that she was responsible for paying the
ll account -

l3. Defendants willfully and intentionally furnished derogatory information to consumer

credit reporting agencies regarding Plaintiii"s alleged responsibility for said account in conscious

 

disregard for Plaintii`r"s rights so as to coerce Plaintiff into paying said account, which account

Det`endants know is held by Plainti&‘s father, and elderly mother who Defendants are aware is unable

 

to work and generate income, and even though Defendants knew the account did not belong to Plaint:iff

and that Plaintiff was not responsible for paying said account, and even though Defendants also knew

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that by reporting said account as being owed by Plaintiff such reporting would have negative impacts
on Plaintiff’s reputation, credit score, and creditworthiness Det`endants’ knowledge of the inaccurate
information it reported and continued to report is evidenced by, among other things, Defendants’ letter
ii to Plaintift` dated October ll, 2011l in which Defendants acknowledged their improper conduct and
represented that Plaintiff would no longer be associated with the account But Piaintift’s association
with the account continued despite Defendants’ promises, and the account continues to appear as an
“adverse account" on Plaintift‘s credit tile maintained by Defendants Equifax and Trans Union.

14. As a direct and proximate result of Defendants’ violations, Plaintift` has suffered and
ii continues to suH`er actual damages, including but not limited to, damage to Plar`ntift?s reputation and
credit worthiness, and emotional distress Defendants’ violations have also caused Plaintiif to incur
il costs and attorney’s fees in order to seek appropriate relief and to enforce her rights under the law.

SECON]] CAUSE OF ACTION

 

‘ violation ar rs U.s.c. § 16811

 

(As to Defendants Equit`ax Information Services, LLC and Trans Uuion, LLC, and Does 1-20)

115. Plaintift` re-aileges and incorporates by reference all allegations in Paragiaphs 1-14
above as if set forth fully herein.

16. Plaintiff is informed and believes and thereon alleges that in or about January 2012,
Defendants Equifax information Services, LLC, ‘I`rans Uaion, LLC, and Does 1-20 violated 15 U.S.C.
§ l681i(a)(1)-(2) by failing to perform a reasonable reinvestigation to determine whether the disputed

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COMPLMNT FOR DAMAGES

 

 

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ll information concerning account number m-m-m-1083 is accurate, and record the
current status of the disputed information lfDefendants had performed a reasonable reinvestigation of
, the disputed account they would have learned, among other things, that Defendants Banlc of America
l and FIA Card Services wrote to Plaintlit` on Oetober ll, 201 l and acknowledged their inaccurate credit
reporting and promised Plaintil.t` that her association with the account would he terminated

17. Plaintiff is informed and believes and thereon alleges that in or about January 2012,

 

 

Del`endants Equifax Information Services, LLC, Trans Union, LLC, and Does 1-20 violated 15 U.S.C.
§ l681i(a)(5) to the extent that they actually performed a reinvestigation after receipt of Plainti&"s
notice of dispute by failing or rehlsing to promptly delete or modify the disputed account in Plaintiti"s
lile. Any reasonable reinvestigation would have revealed that the disputed account should be deleted
from Plaintift’s file as Plaintiff has never been responsible for paying said account, and Defendants
Bank of America and FIA Card Services acknowledged their inaccurate reporting by letter to Plaintiif
dated October l l, 2011 that Plai.ntiff would no longer be associated with the account

l8. Plaintift` is informed and believes and thereon alleges that Defendants Bquifax
Infcrmation Services, LLC, 'l`rans l_lnion, LLC, and Does 1-20 violated 15 U.S.C. § 1681i(a)(6) by
failing to provide Plaintift` with written notice of the results of their reinvestigation, if any, following
receipt of Plaintiii’s written notice cf dispute in Janu£u'y 2012. Defendants failed to provide notice of
the results of their reinvestigation, if any, as required by l$ U.S.C. § lGSli(a)(®(A), and in so doing
" failed to provide the information and revised consumer report required by § 168li(a)(6`)(B). To the
extent Defendants performed a reinvestigation, plaintift`is informed and believes and thereon alleges
that Defendants Banlc of Amerioa and FIA Card Serviees violated 15 U.S.C. § 168 ls-Z(a)-(b) by,
among other things, reporting and continuing to report false and inaccurate information with respect to

the disputed account, and failing t_o comply with their duties to investigate upon receipt of the notice of

 

 

dispute from Defendants Equit`ax Information Serviccs, LLC and 'l`rans Union, LLC.

l9. Defendants willfully and intentionally failed or refused to properly reinvestigate the
derogatory information in Plaintili’s tile regarding the disputed account number XXXX-}GG{X~
m-IOSB, including Plaintift"s alleged responsibility for said account, in violation of 15 U.S.C. §
'lGBli(a) and in conscious disregard for Plaintift’s rights Plaintift‘s notice of dispute was sent to

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coMPLAINT son DAMAGES

 

 

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Defendants by certified mail and each Defendant signed fdr the letter and thereby conlinued their
receipt and understanding of Plaintiff`s notice of dispute. Yet, with full knowledge that it was likely
the disputed account did not belong to Plaintiff, Defendants made the conscious and deliberate
decision to not conduct a reasonable reinvestigation as required By contrast, another consumer credit
reporting agency, Experian, promptly responded to Plaintlff" s notice of dispute and informed Plaintili'
that the disputed account was not appearing in her credit file. Defendant Equifax lnforrnatiou
Services, LLC never responded to Plaintiif's notice of dispute at all, thereby violating the Fair Credit
Reporting Act as set forth above. Defendant Trans Union, LLC responded to the notice of dispute and
initially represented it- would investigate the matter and forward the results of its investigation to
Plaintiii", but it never actually sent Plaintiff written notice of the results of its reinvestigation, if any, in_
violation of 15 U.S.C. § 1681i(a)(6), and Plainti&` is informed and believes that said Defendant never
did perform a reasonable reinvestigation.

20. As a direct and proximate result of Defendants’ violations, Plaintifl" has suffered and
continues to suffer actual damages, including but not limited to, damage to Plaintif.f’ s reputation and
credit worthiness, and emotional distress Defendants’ violations have also caused Plaintiff to incur
costs and attorney’s fees in order to seek appropriate relief and to enforce her rights under the law.

THIRD CAUSE OF AC'I`ION
Violntion of Civil Code § 1735.17
{As to Defendants Equifax Informaticn Services, LLC and Does 1~20)

itl. Plaintitf re-alleges and incorporates by reference all allegations in Paragraphs 1-20
above as if set forth billy herein.

22. Defendant Equifax lnformation Services, LLC violated Civil Code § l785.l7(a)(1) on
or about January 3, 2012, by charging Plaintilf more than $8.00 for a copy of her credit report and
credit score. On that date, Defendant charged Plaintift` $15.95 for said information and thereby
violated california law. '

23. As a direct and proximate result of Defendant’s violation, P|aintiff has sutfered and
continues to suffer actual damages according to proofl Defendant’s violation has also caused Plaintitf
to incur costs and attorney’s fees to seek appropriate relief and to enforce her rights under the law.

- 5 -

COMPLAINT FOR DAMAGES

 

 

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3 AS TO THE F[RST AND THJRD CAUSES OF ACTION AGAINST DEFENDANI`S BANK

4 OF AMER_ICA. N.A.. FIA CARD SER.VICES. N.A.. EOUIFAX ]NFORMATION

5 SERVICES. LLC. AND DOES 1 THROUGH 20 PURSUANT TO CIVIL CODE § 1785.31:

6 1. For actual damages according to proof;

7 2. For attorney’s fees and costs;

3 3. For punitive damages of $5,000 against Defendants Bank of Arncrica and FLA Card

9 Services and Does 1-20 for each violation;
10 4. For injunctive relief requiring Defendants Bank of America and FlA Card Services to
11 remove the false/inaccurate information regarding account number m-X}CC(-
12 XXXX-lOSS from Plaintiff’s credit ila that they reported in violation of Civil Codc §
f3 1785.25(a); and
14 5 . For any other legal or equitable relief the Court deems just and proper.
15 AS TO THE SECOND CAUSE OF ACTION AGA]NST DEFENDANTS EOUIFAX
15 MORM_ATION SERVICES. LLC: TRANS UN]ON. LLC: A`ND DOES 1 'I`HROUGH 20
17 PURsUANTTo 15 U.s.o. 86 team and 168:0:
13 l. For actual damages according to proof, or damages of up $l,l)OO as to each Defendant;
19 t 2. For attorney’s fees and costs;
20 3. For punitive damages; and
21 4. For any other legal or equitable relief the Court deems just and proper.
22 Dated: lune 27, 2013

ELLIS LAW GROUP, LLP
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Brandori`£r.-'Heei)es/ j
25 Attorney for
Plainti‘d`PATRICIA M[LLS
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COMPLAINT FOR DAMAGES

 

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Filed 09/20/13 Page 10 of 11

 

SUPERlOR COURT OF CALlFORNlA, COUNTY OF SACRAMENTO
STREET ADDPESS: 720 winch srREET

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FOR COURT USE DNLY

ERANCH NAME; Gordon D Schaber Courthouse

PHONE NL|MEER: (916) 874~5522

 

SHORT TlTLE: lvti|ls vs. Bar\k of America

 

 

Nor:cE oF cAsE MANAGEMENT coNFERENcE CASE NUMBER=
AND ORDER TO APPEAR 34-2013-00147380-CU-MC~GDS

 

 

I-learing Date

The above entitled action has been _set for_a case management conference at OB:SG A|Vl on 01123.'2014
in Depaltment 36 an acc_or_dance wlth_Ca|lfornla Rules of Court 212. You must be familiar with the case
and fully prepared to partlccpate effectively ln the case management conference

Case Ntanagement Statement

A|l parties must tile and serve a case management statement at least 15 calendar days before the case
management conference Partles are encouraged to file a single joint case management statement

Minimum Re_quirements l _

Prior to the ming of the case management statement the parties should have done the following:
~Served all parties named in the complaint wlthln 60 days after the summons h_as been lssued
-Ensured that all defendants and cross~defendants have answered, been dismissed, or had their defaults entered
-Nlet and conferred with all partles as required by CRC 212 (f) to discuss and resolve issues set forth therein.

Tentative Rullng _

Following its review of the case management statement(s), the court may determine that a case management
conference ls not necessary _ _

To determine whether an appearance ls requ|red, the parties must checlg the courl’s tentative rulings after 2:00 p.m.
on the Court day before the hursday calendar by accessan the court's mternet webslte at

www.saccourt.ca.gov

Gase Nlanagement Orders _ _ l _

At the case management conference, the courtwlll consider whether the case should be ordered to _ludlclal
arbitration or referred to other forms of Alternatlve Dlspute Reso|utlon, Whether or not a case management
conference is held, the court wl|| issue a case management order shortly after the scheduled conference date.

Servtce of Case Management Notice ‘ _ _ _ _
Unless otherwise ordered by the courtl laintiff shall serve a copy of th:s notlce on any party to the complaint
appearing after the court issued this no ice. The cross-complainant shall have the same cb lgation with respect to
the cross-complaint

Certification §=iled in Lieu of Case_Management Statement

lf parties in the action file a certification on a form provided by thel court at least 15 calendar da s prior to the date of
the case management conference that the case ls sho_;t cause (flve hours or less of trial time), hat the pleading
stage ls complete and that the case wlll_ be ready for trial wlt_hin 60 days, the case will be exempted from any further
case management requirements and will be set formal within 60-120 days. The codification shall be ll|ed th lieu of a
case management statement

 

NOT|CE GF CASE MANAGEMENT CONFERENCE AND ORDER TO APPEAR P°ge: 1

 

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Comp|iance
Faiiure to comply with this notice or to appear at the case management conference ma result in the imposition of
sanctions (inclu ing dismissal of the case, striking of the answer, or payment of money¥.

Continuances

Case management conference _wil| riot be continued except on a showing of good cause. lf your case management
conference is continued on motion or by the court on its own motion all parties shall tile and serve a new case
management statement at least 15 calendar days before the continued case management conference.

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Gern't W. Wood, Judge of the Superior Court

 

 

NoricE oF cAsi»:- MANAGEMENT coNFaRENcE AND onoER To APPEAR P°g'“ 2

